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                 EXHIBIT B
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August 31, 2022

BY ECF AND EMAIL

The Honorable Katherine Polk Failla
United States District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007
Re: In re Tether and Bitfinex Crypto Asset Litigation, No. 19 Civ. 9236 (S.D.N.Y.)

Dear Judge Failla:

We represent the B/T Defendants in the above-referenced matter and write in response to
Plaintiffs’ Motion for Kyle W. Roche to Withdraw as Attorney. (Dkt No. 229.) Mr. Roche’s
motion comes immediately following the public disclosure of a series of videos of Mr. Roche
suggesting that he and his law firm are misusing the litigation process. Mr. Roche apparently
has an enormous stake in a crypto company called Ava Labs, Inc., files class action lawsuits
against companies in the crypto space for the purpose of harming competitors of Ava Labs, and
uses market intelligence gathered through the discovery process for the benefit of Ava Labs.
The videos also show Mr. Roche making several disparaging remarks about juries, class
members, and the class-action process in the United States.1

Mr. Roche’s statements raise grave concerns for the B/T Defendants regarding the motivations
behind filing this lawsuit, the purpose for which certain discovery has been sought, and whether
the highly sensitive, confidential information the B/T Defendants have provided is being
misused. That Mr. Roche, who initially claimed that his comments were taken out of context,
has now announced that he “is no longer involved” in his firm’s class action practice further
heightens those concerns.

The B/T Defendants’ concerns are not addressed by Mr. Roche’s individual withdrawal as
counsel of record in this matter. Accordingly, the B/T Defendants respectfully request that
Mr. Roche’s firm, Roche Freedman LLP, be terminated as counsel in this case, and that
Mr. Roche and Roche Freedman LLP certify to this Court that they (i) have returned or
destroyed all documents and information produced by Defendants in this lawsuit and (ii) have
not shared any such documents or information with Ava Labs or any other third party.




  1
      Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought Law
      Firm, Roche Freedman, CRYPTO LEAKS (Aug. 26, 2022), available at
      https://cryptoleaks.info/case-no-3 [https://perma.cc/N433-63SC].
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  I.      The Kyle Roche Video.

Mr. Roche’s withdrawal motion comes on the heels of a high profile investigative exposé
published by the Crypto Leaks website on August 26, 2022 that includes a series of video clips
in which Mr. Roche, a founding partner of the Roche Freedman firm, makes a number of highly
disturbing comments about his significant financial interest in Ava Labs and his misuse of class
action litigation. Among other things, Mr. Roche states that:

   •   He personally owns approximately 1% of the Avalanche tokens (“AVAX”) issued by
       Ava Labs, as well as 1% of the equity in Ava Labs. (That interest is worth tens of
       millions, if not hundreds of millions of dollars: the market capitalization of AVAX
       tokens is currently $5.7 billion and has been as high as $30 billion in the past year.)

   •   He uses litigation as “a strategic instrument to support Ava Labs,” which he states is
       “a completely different way than being a lawyer.” Litigation, according to Mr. Roche,
       is “a fantastic tool to competition.”

   •   Ava Labs does not file complaints against its competitors, but instead “they have me do
       that on behalf of the class.”

   •   By filing lawsuits against competitors of Ava Labs, Mr. Roche “deal[s] with making
       sure that . . . the SEC and the CFTC have other magnets to go after,” thereby protecting
       Ava Labs from regulatory scrutiny.

Mr. Roche’s statements also give rise to a serious concern that he may be abusing the discovery
process and misusing information that he learns through litigation. He states that he is Ava
Lab’s “crypto expert” because he “sue[s] half the companies in the space” and “know[s] where
this market is going” because he has “seen the insides of every single crypto company.” These
concerns resonate strongly in this case, where Plaintiffs have served a number of document
requests seeking information that has no apparent link to the claims and defenses in this lawsuit.
For example, Plaintiffs have sought documents related to numerous entities and individuals with
whom the B/T Defendants have business relations, as well as all documents related to the B/T
Defendants’ investments in other crypto companies, their efforts to raise equity and to obtain
loans, and a wide array of financial information unrelated to the issues raised by Plaintiffs’
complaint.

More broadly, Mr. Roche disparages the putative class members whom he seeks to represent –
and to whom he and his firm owe a fiduciary duty – as “100,000 idiots out there” and
dismissively refers to juries as “10 idiots” who “control the flow of all the money that happens
in American class actions.”
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Mr. Roche has publicly confirmed that the recordings are genuine. He claims that he was
“exploit[ed]” using “leading questions,” and that his statements were taken out of context.2

   II.       Mr. Roche’s Motion to Withdraw Does Not Adequately Address the Concerns
             Raised by the Kyle Roche Video.

In his Motion to Withdraw, Mr. Roche states that he “is no longer involved in [Roche
Freedman’s] class action practice.” (Dkt. No. 229 at 1.) That is an extraordinary statement
given that Mr. Roche is a founder of Roche Freedman LLP and the “class action practice”
represents the vast majority of his firm’s work. Such a drastic step is inconsistent with
Mr. Roche’s suggestion that his videotaped statements were taken out of context, and it
validates the serious concerns caused by those statements. Indeed, it heightens those concerns.

The individual withdrawal of Mr. Roche, however, does little if anything to address the serious
issues regarding the potential misuse of discovery and class action lawsuits generally. Even if
he is no longer counsel of record, he would still have access to discovery materials, would retain
the ability to direct the conduct of other lawyers at his firm, and would profit from any potential
recovery in this lawsuit. Moreover, any conflict of interest impacting Mr. Roche is imputed to
his entire firm. And, in fact, it appears that other lawyers at Roche Freedman who have entered
appearances in this litigation – including Devin “Vevel” Freedman, Amos Friedland, and
Edward Normand – may also own substantial amounts of AVAX tokens and have similar
involvement with Ava Labs.3

Accordingly, the B/T Defendants respectfully request that, in response to Mr. Roche’s motion to
withdraw, the Court order that the entire firm of Roche Freedman LLP be terminated as counsel
in this case. Such a removal would not prejudice Plaintiffs, as they would remain represented
by two other large and experienced firms: Selendy Gay Elsberg PLLC and Schneider Wallace
Cottrell Konecky LLP.

In order to protect the highly sensitive information that Defendants have produced in discovery,
the B/T Defendants also respectfully request that the Court issue an order requiring Mr. Roche
and Roche Freedman LLP to certify that they (i) have returned or destroyed all documents and
information produced by Defendants in this lawsuit and (ii) have not shared any such documents
or information with Ava Labs or any other third party. The documents produced by the
B/T Defendants and other parties in this litigation are highly sensitive, as they include not only
confidential, competitively sensitive information about Defendants’ businesses but also
information that, if disclosed, would threatens the privacy and security of Defendants and their

   2
         See Kyle Roche, My Response, MEDIUM (Aug. 29, 2022), available at
         https://medium.com/@kyleroche/my-response-b691563c255b [https://perma.cc/WH2G-
         ZD8B].
   3
         Crypto Leaks (@CryptoLeaksInfo), TWITTER (Aug. 29, 2022, 5:44 A.M.),
         https://twitter.com/CryptoLeaksInfo/status/1564187241949298688.
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customers. The Court has already recognized the importance of protecting information about
cryptocurrencies and related accounts and wallets. (Dkt. No. 195.)

                                            *   *   *

We thank the Court for its consideration.



Respectfully submitted,

/s/ Elliot Greenfield
